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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                             MONROE DIVISION


  IN RE CENTURYLINK, INC.                )   Master Case No. 3:13-cv-2318-RGJ-JDK
  SECURITIES LITIGATION                  )
                                         )    (Consolidated with 3:13-cv-02983-RGJ-JDK)
  This Document Relates to:              )    (Consolidated with 3:14-cv-00658-RGJ-JDK)
   Member Case No. 3:14-cv-658-RGJ-JDK   )    (Consolidated with 3:14-cv-00659-RGJ-JDK)
   Member Case No. 3:14-cv-659-RGJ-JDK   )
                                         )




           FIRST AMENDED SECURITIES CLASS ACTION COMPLAINT
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        Lead Plaintiffs Gary Littrell and Westchester Putnam Counties Heavy & Highway

 Laborers Local 60 Benefit Funds (collectively, the “Lead Plaintiffs”), on behalf of themselves and

 all others similarly situated, by their undersigned attorneys, allege the following upon personal

 knowledge as to themselves and their acts, and upon information and belief as to all other matters,

 based upon the ongoing investigation of counsel. Many of the facts related to Lead Plaintiffs’

 allegations are known only by the Defendants, or are exclusively within their custody or control.

 Lead Counsel’s investigation included, among other things: (a) review and analysis of public

 filings made by Defendant CenturyLink, Inc. (“CenturyLink” or the “Company”) with the United

 States Securities and Exchange Commission (the “SEC”); (b) review and analysis of the

 Defendants’ public documents, conference calls and press releases; (c) review and analysis of

 media and securities analysts’ reports and advisories concerning the Company; (d) publicly

 available data relating to CenturyLink common stock; and (e) interviews with former Company

 employees. Lead Plaintiffs believe that further substantial evidentiary support will exist for the

 allegations set forth herein after a reasonable opportunity for discovery.

        NATURE OF THE ACTION

        1.      This is a federal securities class action on behalf of a class consisting of all persons

 other than the Defendants Glen F. Post, III (“Post”), R. Stewart Ewing, Jr. (“Ewing”), and David

 D. Cole (“Cole”) (together with the Company, “Defendants”) who purchased CenturyLink

 common stock between August 8, 2012 and February 13, 2013, inclusive (the “Class Period”), and

 who were damaged thereby (the “Class”), seeking to recover damages caused by Defendants’

 violations of the Securities Exchange Act of 1934 (the “Exchange Act”). Excluded from the Class

 are Defendants herein, the officers and directors of the Company, at all relevant times, members

 of their immediate families and their legal representatives, heirs, successors or assigns and any
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 entity in which Defendants have or had a controlling interest.

        2.      Defendant CenturyLink provides communications and data services to residential,

 business, governmental, and wholesale customers. Over the past decade, CenturyLink has become

 the third largest telecommunications company in the United States through a series of acquisitions

 of smaller access line providers and regional telecommunications companies.

        3.      CenturyLink’s history of acquisitions is in part responsible for the Company’s

 sudden decision to slash its dividend by 25% and resulting in one of the largest one-day stock

 drops the Company’s history. Recently, CenturyLink acquired Embarq Corporation (a large

 independent local exchange carrier) for $11.6 billion. In 2010, CenturyLink acquired Qwest

 Communications (“Qwest”), a national telecommunications carrier, through a stock transaction

 valued at $22.4 billion. The following year, in 2011, CenturyLink acquired Savvis (a provider of

 “enterprise could computing” and related technology services) for $2.5 billion. Pursuant to the

 terms of each deal, CenturyLink assumed Embarq Corporation’s, Qwest’s, and Savvis’

 outstanding debt of $5.8 billion, $11.8 billion, and $700 million (respectively).

        4.      CenturyLink’s free cash flow and levels of debt were serious subjects of discussion.

 While the Company obtained net operating losses (“NOLs”) from its previous acquisitions and

 was able to carry them forward into the future for the purpose of offsetting gains, the Company

 could only do so for a limited number of years. Recognizing this, credit rating agencies (e.g.,

 Standard & Poor’s, Moody’s, Fitch) began questioning CenturyLink’s investment grade rating.

        5.      Notwithstanding its vast amount of debt and impending free cash-flow crunch once

 the Company could no longer use its NOLs to offset income, Defendants assured investors

 throughout the Class Period that it would be able to maintain its credit rating and quarterly dividend


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 of 72.5 cents per share or $2.90 per share annually (which at the time equated to a yield of over

 7%, unusually high for a common stock). As detailed below, CenturyLink falsely represented

 through press releases, conference calls, analyst conferences, and SEC filings that it was

 financially capable of maintaining the status quo, and in fact misled investors into thinking that a

 dividend increase was possible.

        6.      As a result of Defendants’ materially false and misleading statements,

 CenturyLink’s common stock traded at artificially inflated prices during the Class Period, reaching

 an intraday high of $43.43 on August 9, 2012.

        7.      After the market closed on February 13, 2013, and after Company insiders had

 made nearly $8 million over the course of the Class Period by trading on insider information,

 CenturyLink shocked the market by announcing that its Board of Directors had authorized a new

 “capital allocation strategy” whereby the Company would be immediately slashing its quarterly

 dividend by 25% from $0.725 to $0.54 per share. Moreover, with the money purportedly saved

 from the dividend cut (approximately $500 million) and additional funds from free cash flows, the

 Company would begin repurchasing outstanding shares (up to $2 billion worth of its common

 stock). On this news, the stock price plummeted on extremely high volume of over 70 million

 shares traded, dropping from a closing price of $41.69 on February 13, 2103 to a closing price of

 $32.27 on February 14, 2013, a decline of over 22%, and resulting in one of the largest one-day

 stock drops the Company’s history, instantly wiping out approximately $6 billion in market value:




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        8.      Defendants withheld the truth from its investors as long as they could. Throughout

 the Class Period, Defendants made false and/or misleading statements, as well as failed to disclose

 material adverse facts about the Company’s business, operations, and prospects. Having been

 aware of the Company’s tenuous credit rating from as early as April 2011, when Standard & Poor’s

 downgraded its rating from BBB- to BB, Defendants attempted to assure investors as best they

 could that the dividend would remain the same and its credit rating would remain strong. However,

 with the expiration of the NOLs and the impending free cash-flow crunch, Defendants were left

 with no option but to reveal its “capital allocation strategy” and suffer the loss of over $6 billion

 in market capitalization and downgrades from Moody’s and Fitch.

        9.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

 in the market value of the Company’s securities, Plaintiffs and other Class members have suffered
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 significant losses and damages.

        JURISDICTION AND VENUE

        10.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

 the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

 SEC (17 C.F.R. §240.10b-5).

        11.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

        12.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

 U.S.C. §1391(b), as the Company’s headquarters are located in this District.

        13.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 including but not limited to, the United States mail, interstate telephone communications and the

 facilities of the national securities exchange.

        PARTIES

                Lead Plaintiffs

        14.     Court-appointed Lead Plaintiffs Gary Littrell and Westchester Putnam Counties

 Heavy & Highway Laborers Local 60 Benefit Funds each purchased CenturyLink common stock

 during the Class Period and have suffered damages as a result. Lead Plaintiffs’ certifications were

 previously filed with the Court in connection with their respective motions for appointment as

 Lead Plaintiff, and are incorporated herein by reference.

                Defendants

        15.     Defendant CenturyLink is a Louisiana corporation with its headquarters at 100

 CenturyLink Drive, Monroe Louisiana 71203. Its common stock is traded on the New York Stock
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 Exchange under the ticker symbol “CTL.”

        16.    Defendant Post was, at all relevant times, President and Chief Executive Officer

 (“CEO”) of CenturyLink. Post has been a member of the Company’s Board of Directors since

 1985, CEO since 1992, and President since 2009. Prior to becoming CEO, Post held various

 positions within CenturyLink, including Treasurer, Chief Financial Officer, and Chief Operating

 Officer. Post has considerable experience in the financial operations of CenturyLink. Given his

 role as CEO and position of the Company’s board of Directors, Post was aware or should have

 been aware of the impact of the NOLs on the Company’s future cash flows and intimately involved

 in the decision-making process with respect to the Company’s dividend.

        17.    Defendant Ewing was, at all relevant times, Executive Vice President (“EVP”) and

 Chief Financial Officer (“CFO”) of CenturyLink. Ewing has been EVP and CFO since 1989.

 Ewing joined CenturyLink in 1983 and has held numerous positions within the Company prior to

 his becoming EVP and CFO, including Senior Vice President, Controller, and Vice President of

 Finance. Ewing has considerable experience in the financial operations of CenturyLink. Given his

 role as CFO, Ewing was aware of the impact of the NOLs on the Company’s future cash flows and

 participated in the decision-making process with respect to the Company’s dividend

        18.    Defendant David D. Cole (“Cole”) was, at all relevant times, Senior Vice

 President—Controller and Operations Support.       Prior to becoming Senior Vice President—

 Controller and Operations Support, Cole was Senior Vice President—Operations Support from

 1999 to 2011. Cole acted as the Company’s Chief Accounting Officers and signed the Company’s

 Forms 10-Q on behalf of the Company. Given his role as Senior Vice President—Controller and

 Operations Support, Cole was aware of the impact of the NOLs on the Company’s future cash


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 flows and the ability of the Company to fund certain dividend obligations

        19.       Post, Ewing, and Cole are collectively referred to hereinafter as the “Individual

 Defendants.” Each of the Individual Defendants:

                  (a)    directly participated in the management of the Company;

                  (b)    directly participated, evaluated, supervised, and managed dividend
                         payments;

                  (c)    were directly involved in the evaluation of the Company’s ability to pay
                         dividends and the amount of the dividend to be paid by the Company;

                  (d)    were aware of the impact of the NOLs against the Company’s future cash
                         flows and the ability of the Company to fund certain dividend obligations;

                  (e)    was directly involved in the day-to-day operations of the Company at the
                         highest levels;

                  (f)    was privy to confidential proprietary information concerning the Company
                         and its business and operations;

                  (g)    was directly or indirectly involved in drafting, producing, reviewing and/or
                         disseminating the false and misleading statements and information alleged
                         herein;

                  (h)    was directly or indirectly involved in the oversight or implementation of the
                         Company’s internal controls;

                  (i)    was aware of or recklessly disregarded the fact that the false and misleading
                         statements were being issued concerning the Company; and/or

                  (j)    approved or ratified these statements in violation of the federal securities
                         laws.

        20.       CenturyLink is liable for the acts of the Individual Defendants and its employees

 under the doctrine of respondeat superior and common law principles of agency as all of the

 wrongful acts complained of herein were carried out within the scope of their employment with

 authorization.

        21.       The scienter of the Individual Defendants and other employees and agents of the

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 Company is similarly imputed to CenturyLink under respondeat superior and agency principles.

        CENTURYLINK LIES ABOUT THE PRESSING NEED TO CUT ITS DIVIDEND

                CenturyLink: A “Dividend Aristocrat”

        22.     CenturyLink is an integrated communications company engaged primarily in

 providing an array of communications services to various residential, business, governmental and

 wholesale customers. The Company’s communications services include local and long-distance,

 network access, private line (including special access), public access, broadband, data, managed

 hosting (including cloud hosting), colocation, wireless and video services. In select markets, the

 Company also provides local access and fiber transport services to local exchange carriers and

 security monitoring.

        23.     CenturyLink is the third largest telecommunications company in the United States

 in terms of lines served, behind AT&T and Verizon. It operates in 37 states, generally across the

 Western, Midwestern and Southern U.S. The Company also operates over four dozen data centers

 across North America, South America, Europe and Asia.

        24.     CenturyLink is an S&P 500 constituent. Because of its high dividend, CenturyLink

 was once considered a “Dividend Aristocrat” by Standard & Poor’s, until it was stripped of that

 designation in 2012. According to Forbes, a Dividend Aristocrat is a company that has increased

 its dividend payouts for at least 25 consecutive years. As a group, the Dividend Aristocrats have

 historically provided slightly better performance and slightly lower volatility than the S&P 500 as

 a whole.1



 1  See http://www.forbes.com/sites/moneybuilder/2012/01/06/sp-dividend-aristocrats-for-2012/
 (last accessed: May 2, 2014).

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            25.    Throughout the Class Period, the Company paid an extremely high dividend of

  7.25%. This dividend made the Company extremely attractive to investors. Analysts, investors,

  and management were all well aware of the fact that the Company’s stock price was being

  maintained by the dividend. As Donna Jaegers, an analyst with D.A. Davidson & Co. told the

  Minneapolis Star Tribune only two weeks before the end of the Class Period, “[i]f they cut the

  dividend, the stock price would go lower. . . . all you get is the dividend—there is no capital

  appreciation.”

                   The Company Struggles to Compete in a Dying Industry

            26.    A large part of CenturyLink’s business is individual “land lines.” The Company

  has been described as a “respected, traditional telephone operator,” and “a rural phone operator at

  its core.”2 CenturyLink’s land line business, however, is gradually dying as a result of increasing

  competition from broadband and wireless service providers. A March 27, 2011 article in The

  Denver Post, written in the wake of the Qwest acquisition, asked the “strategic question” of “how

  the company will grow revenue long term in a dying business.”3 Another article published in The

  Denver Post on April 2, 2011, observed that:

            CenturyLink’s acquisition binge comes as the nation’s landline phone business is
            eroding. Millions of consumers dump wireline phone service annually, relying
            solely on cellphones or switching to Internet-based voice offerings from cable-TV
            companies.4

            27.    This trend certainly held true for CenturyLink. Indeed, in the twelve months ended



  2 See   http://www.denverpost.com/ci_17756207 (last accessed May 2, 2014).
  3   See http://www.denverpost.com/ci_17704874 (last accessed May 2, 2014).
  4 See   http://www.denverpost.com/ci_17756207 (last accessed May 2, 2014).

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  December 2012, the Company lost 5.5% of its individual telephone lines, a decline of over 836,000

  lines. As a result of the dying land line business, CenturyLink sought to stay competitive by

  growing and diversifying into other fields such as broadband access, managed data hosting, cloud

  data hosting, and wireless services.

            28.    The Company sought to introduce new products such as Prism TV, an IPTV service

  similar to and competitive with AT&T’s Uverse product. Confidential Witness (“CW”)5 16

  recalled that the outlook was “not looking great” in terms of meeting revenue and customer goals

  for Prism TV. CW 1 explained that these goals were set for the year in advance (i.e., the goals for

  2012 were set at the end of 2011). Moreover, “it was no big secret” within CenturyLink that it

  was facing subscriber shortfalls for the product. By the time CW 1 left the Company, it had only

  achieved 77% of the subscribers that it hoped to sign up to date.

            29.    Other efforts to expand the Company’s product offerings fared no better. CW 27

  recalls that, despite being given sales quotas for cloud-based and hosted voice-over-IP (VoIP)

  products beginning in 2012, these products and services were never officially “launched” and

  available for clients. The official launch date for these services was moved back from 2012 to

  early 2013, but according to CW 2, were still not available as of the time she resigned.



  5   To protect their anonymity, all CWs are referred to in the feminine.
  6 CW 1 was a contract Financial Analyst at CenturyLink where she worked from December 2011
  to September 2012. She reported to Chris Selby, who in turn reported to Chris LaNasa. CW 1
  was responsible for financial forecasting relating to Prism TV.
  7CW 2 was a Business Sales Consultant who worked at CenturyLink from 2010 to April 2013.
  She reported to Senior Vice President Todd Davis. Her job responsibilities required CW 2 to
  engage in business to business sales, with a focus on enterprise accounts that spent at least $50,000
  per year on telephone and internet services.

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         30.     To remain competitive, CenturyLink also embarked on an “acquisition spree,” as

  The Wall Street Journal described it.8 This “spree” began with the Company’s acquisition of

  Embarq in July 2009.9 The terms of the $11.6 billion all stock transaction included CenturyLink

  assuming $5.8 billion of Embarq’s debt. Less than a year later, CenturyLink announced that it

  would acquire Qwest Communications (“Qwest”) in another all-stock transaction. This $22.4

  billion acquisition was completed on April 1, 2011, and its terms similarly required CenturyLink

  to assume the astronomical $11.8 billion debt that Qwest had on its books. The Qwest acquisition

  made CenturyLink the owner of one of the so-called “Baby Bells,” as Qwest itself had merged

  with US West in 2000. The Wall Street Journal noted that “one of the key reasons” CenturyLink

  acquired Qwest “was its stronger business presence, which Qwest Communications has built up.”10

         31.     On July 15, 2011, CenturyLink acquired Savvis for $2.5 billion. CenturyLink

  assumed $700 million of Savvis’ debt (which represented all outstanding shares of Savvis common

  stock at $40 per share). Dealbook noted that the Savvis acquisition would allow CenturyLink to

  expand its data storage services for global companies,11 thus facilitating the Company’s move into

  the managed hosting and cloud services areas, vital field that would be ripe for future development.


  8  See http://online.wsj.com/news/articles/SB10001424052748704187604576288610141952924
  (last accessed May 2, 2014).
  9 While The Wall Street Journal describes CenturyLink’s “spree” as beginning in July 2009, the
  Company had been making steady acquisitions since 2000 with a series of purchases of access
  lines from a number of regional telecommunications company including General Telephone &
  Electronics Corp., Telephone USA of Wisconsin LLC, ALLTEL Inc., and others.
  10 See http://online.wsj.com/news/articles/SB10001424052748704187604576288610141952924
  (last accessed May 2, 2014).
  11 See http://dealbook.nytimes.com/2011/04/27/centurylink-to-buy-savvis-for-2-5-billion/ (last
  accessed May 2, 2014).

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         32.     Similarly, The Wall Street Journal explained that the Savvis acquisition “pushes

  CenturyLink further into cloud computing, a hot area in the tech sector that enables access to

  computer services and data storage over the Internet.”12 The Savvis acquisition would “help

  CenturyLink strengthen its position in the business market,” as “[m]ore than half of the combined

  company’s revenue is expected to come from business customers.”

         33.     From nearly the beginning, however, problems arose out of the Savvis deal. CW

  313 described a brain drain of Savvis’ top talent after in the wake of the acquisition. She explained

  that Savvis was more “nimble,” as an IT company would normally be, whereas CenturyLink was

  more cumbersome and “slow to make decisions.” CW 3 explained that CenturyLink dragged its

  feet for several months before approving the much-needed “retention” incentive program, which

  only then began to stem the loss of top Savvis talent.

         34.     CW 3 further explained that Savvis’ revenues began declining, in large part due to

  Reuters’ declining revenue. Reuters was Savvis’ largest client, and the two initially entered into a

  five-year agreement in April 2007 for Savvis to improve the reliability and scalability of the

  flagship Reuters.com web site. In 2009, Reuters signed a three year extension of the agreement

  with Savvis for managed hosting and network services. CW 3 explained that Reuters began

  suffering from declining revenues beginning in 2013, which would have impacted Savvis’ overall

  revenue.


  12 See http://online.wsj.com/news/articles/SB10001424052748704187604576288610141952924
  (last accessed May 2, 2014).
  13 CW 3 was a former Director of Human Resources for Savvis from 2008 until April 1, 2013. In
  this role CW 3 was responsible for overseeing Savvis’ Human Resources Information System, and
  for transitioning the Savvis Human Resources Department into the CenturyLink Human Resources
  Group.

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         35.     CenturyLink’s “acquisition spree” did not come cheaply. A February 27, 2012

  Seeking Alpha described the debt taken on as a result of the Embarq Corporation and Qwest

  Communications acquisitions as “a significant red flag” and “another scary factor on the balance

  sheet.”14 According to the article, excluding intangible goodwill, CenturyLink’s $21 billion in

  debt contributed to an aggregate of $35 billion in total liabilities, compared against $34.3 billion

  in assets (excluding goodwill). The article went on to comment that due to its “huge debt on the

  balance sheet and shrinking revenues,” the Company would not be able to “keep up” with the

  dividends paid by other telecom giants such as Verizon and AT&T.

         36.     Moreover, CenturyLink’s problems were not confined to the acquisitions

  themselves, but also flowed from the very synergies that were supposed to boost the Company’s

  revenues. CW 415 recalled that, unlike Qwest, CenturyLink did not merge the financial and

  accounting functions of acquired companies as an integral part of CenturyLink. CW 4 stated that

  she learned “enough to be dangerous” on the main SAP system that CenturyLink used so that she

  could format Qwest’s results in a manner that CenturyLink could use. CW 516 explained that as a

  result of its accounting practices, the increase in personnel data after acquisitions became


  14 See http://seekingalpha.com/article/395111-debt-ridden-centurylink-should-follow-frontier-
  and-slash-its-dividend (last accessed May 2, 2014).
  15 CW 4 was a Senior Financial/Business Analyst and legacy Qwest employee who worked at
  CenturyLink until June 2012. During her tenure, she was responsible for accounting and
  reconciling various intercompany transactions within Qwest.
  16 CW 5 worked for CenturyLink from July 1994 to September 2006, and again from July 2010 to
  February 2013. Beginning in July 2010, she held the position of Financial Analyst in the
  Engineering Department. In this position she reported directly to Defendant Cole, and was
  responsible for compiling all of the financial data from the Engineering Department. Beginning
  in December 2011, CW 5 became a Lead Analyst in the Engineering Department, where she was
  assigned to review the status of contractor-assigned projects.

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  “unmanageable.” Indeed, CW 617 described CenturyLink as having “one of the worst financial

  reporting” systems she had experienced, and that it was “a mess.” CW 6 described CenturyLink

  as having “a lot of artificial and real walls” that obstructed the flow of information, to the extent

  that if she wanted to look at a 10-K or 10-Q, she would have to pull the report from Yahoo! Finance

  or the SEC’s Edgar database, since there was no way internally that she knew of that would permit

  her to do so.

         37.      In addition, CW 718 recalled that, because CenturyLink’s network expansion

  projects required a human resources representative to be present at certain meetings, CW 7 was

  ‘well aware of the plans” the Company had to expand its network and that this represented “a huge

  cost.” Furthermore, CW 7 remembered seeing the budgets for these network expansion plans and

  therefore “could see a concern” in terms of achieving revenue goals and the costs that were going

  to be incurred. As CW 7 put it, “something had to give.”

                  Credit Ratings Agencies Put CenturyLink Squarely Between a Rock and
                  Hard Place

         38.      Against the backdrop of a dying industry and crushed by tens of billions of dollars’

  worth of debt incurred as a result of its acquisition binge, CenturyLink found itself in an unenviable

  position. Matters took a turn for the worse when Moody’s and Fitch began discussions with the


  17CW 6 was a Lead Senior Financial Analyst at CenturyLink from October 2012 through August
  2013, where she was responsible for evaluating topline revenue performance to determine
  whether CenturyLink’s marketing campaigns and associated expenditures were having an effect
  on revenue.
  18CW 7 worked at CenturyLink from June 2007 to November 2013, where she was a Director of
  Human Resources at CenturyLink. In this position, CW 7 led a team of six human resources
  partners who provided support to the Wholesale Enterprise Group, the Corporate Services Groups,
  which were comprised of finance, corporate strategy, the IT Consulting Group, the Public Policy
  and Regulatory Group, and Legal and Human Resources.

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  Company about its ability to maintain its credit rating. 19

          39.        Defendant Ewing told investors that the Company met with the credit ratings

  agencies every quarter, and had face-to-face visits “a couple times a year.” He explained that these

  meetings had already occurred prior to the first day of the Class Period, and summarized the

  agencies’ main areas of concern. For example, Moody’s informed the Company that it had to

  reduce its debt-to-EBITDA ratio to 3x, while Fitch told the Company that it focused on the

  dividend payout.

          40.        The Company met with the credit ratings agencies throughout the third and fourth

  quarters of 2012, including in September, after a Board meeting, and in November. Defendant

  Post later explained that the question of how large the dividend should be is something that is

  considered “continually with our board.” Defendant Ewing would also later explain to investors

  on the September 13, 2013 Bank of America Merrill Lynch Media, Communications &

  Entertainment Conference that CenturyLink planned to approach Moody’s with two to three

  quarters of data in order to remove the negative outlook placed on the Company – which itself is

  a precursor to a credit ratings downgrade.

          41.        Soon enough, though, as Defendant Post would later admit, the ratings agencies

  informed the Company that to keep its investment grade rating, it needed to cut the dividend and

  use all of its free cash flow to pay down the billions of dollars’ worth of debt on its balance sheet.




  19 Institutionalinvestors such as pension funds, retirement systems and banks are often prohibited
  from transacting in securities if they fall below a certain credit rating threshold. During the Class
  Period, approximately 700 institutions held roughly 74% of all of CenturyLink’s outstanding
  shares. A credit rating downgrade could cause an avalanche of institutional sales and a cratering
  stock price, further endangering CenturyLink at a fragile time in the Company’s operations.

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          42.     Notably, CW 820 recalled that after the dividend cut, Defendant Post held a

  Company-wide “Q and A” session during which he answered questions from CenturyLink

  employees. CW 8 said that during the meeting, Post confessed that he should have “prepped the

  market ahead of the dividend cut as opposed to announcing the cut.”

          43.     Accordingly, at the start of the Class Period, the Defendants were faced with a dire

  situation, with a grim industry outlook combined with massive amounts of debt. Nonetheless, the

  Defendants were well-aware that a key component of the Company’s stock price was its status as

  a “Dividend Aristocrat,” and they chose to conceal the need to cut the dividend until they could

  sell millions of dollars’ worth of their own stock at artificially inflated prices.

                  Company Insiders Reap Millions of Dollars in Stock Sales While Leaving
                  Investors Out in the Cold

          44.     Despite the fact that senior Company executives and directors had access to

  material non-public information – in that they knew (or should have known) of CenturyLink’s

  impending dividend cut – they nevertheless sold millions of dollars’ worth of CenturyLink stock

  at artificially inflated prices and reaped millions of dollars in illicit profits as a result. As senior

  executives and directors, these individuals either had a duty to not sell CenturyLink common stock

  under these circumstances, or had a duty to disclose the material, non-public information prior to

  selling the stock.

          45.     Specifically, while in the possession of material, non-public information, Company

  insiders, including certain of the Individual Defendants, engaged in the following illict sales of



  20 CW 8 worked at CenturyLink from June 2007 to March 2014. From April 2011 to March 2014,
  she was the Director of CenturyLink’s Internal Contact Center, where she oversaw a team of
  engineers and project managers, who themselves oversaw the Company’s contact center positions.

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  CenturyLink common stock:

   Date         Insider                 Position                      Shares Sold      Value
                                        EVP/Secretary/General
   08/09/12     Stacey W. Goff                                        10,000           $432,700
                                        Counsel
                Defendant     Glen   F. President/CEO
   08/09/12                                                           100,000          $4,305,000
                Post
   08/09/12     Karen A. Puckett        EVP/COO                       50,000           $2,153,500
   08/10/12     CG Melville             Director                      600              $25,440
   08/14/12     Maxine Moreau           SVP Network Services          2,246            $96,000
   08/15/12     CG Melville             Director                      3,001            $127,932
   11/09/12     CG Melville             Director                      1,400            $54,684
   11/12/12     Fred Nicholds           Director                      1,300            $50,712
   11/12/12     Joseph Zimmel           Director                      10,938           $427,128
                William Arthur
   11/28/12                                                           5,000            $191,200
                Owens                   Director
   12/03/12     CG Melville             Director                      500              $19,465
   12/07/12     Richard Gephardt        Director                      1,780            $67,355

          46.     Notably, the August 9, 2012 sales by Defendant Post and Karen Puckett were their

  first sales since December 2010. Indeed, it is clear that all of these Company insiders suspiciously

  timed their sales of CenturyLink common stock, especially when compared to their sales during

  the rest of 2013:




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                                    Insider Sales Shares
    200,000                    186,765
    180,000
    160,000
    140,000
    120,000
    100,000
     80,000
     60,000
     40,000                                                               28,558
     20,000
         0
                         During Class Period                         After Class Period


         47.     These sales were timed to gain maximum profit while CenturyLink common stock

  was artificially inflated. In fact, Defendant Post, Stacey Goff (EVP/Secretary/General Counsel)

  and Karen Puckett (EVP/COO) all sold on August 9, 2012 – the very same day that the Company’s

  common stock hit an intraday Class Period (and yearly) high of $43.43 per share. CG Melville

  rode their coattails, selling his shares a day later. The stock would never close above $43 for the

  entire Class Period. In all, Company insiders illicitly reaped nearly $8 million in the process:




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                             Insider Sales Gross Proceeds
   $9,000,000
                               $7,951,116
   $8,000,000

   $7,000,000

   $6,000,000

   $5,000,000

   $4,000,000

   $3,000,000

   $2,000,000
                                                                           $944,862
   $1,000,000

           $0
                           During Class Period                         After Class Period


         THE TRUTH IS REVEALED

         48.     On February 13, 2013, after the market closed, CenturyLink shocked the public,

  causing a frenzy among investors and analysts, when it issued a press release entitled “CenturyLink

  revises capital allocation strategy” The press release stated in relevant part:

                 MONROE, La., Feb. 13, 2013 /PRNewswire/ -- CenturyLink, Inc. (NYSE:
         CTL) today announced that the company’s board of directors has authorized certain
         capital allocation initiatives that further enable its strategy of investing in key
         drivers to stabilize and grow operating revenues.

                 The CenturyLink board has authorized the repurchase of up to an aggregate
         $2.0 billion of the company’s outstanding common stock. The company expects to
         execute this share repurchase program primarily in open market transactions,
         subject to market conditions and other factors, and expects to complete the program
         by its scheduled termination date of February 13, 2015. CenturyLink intends to
         fund the share repurchase program primarily with free cash flow generated by the
         business.

                 In connection with the new repurchase program, the board also indicated its
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            intention to revise the company’s quarterly dividend rate to $0.54 from $0.725 per
            share. The board expects to approve this new rate at its next regularly-scheduled
            meeting on February 26, 2013, with the change effective with the March 2013
            quarterly dividend payment.

                   CenturyLink also expects to utilize a portion of its free cash flow generated
            in 2013 and 2014 to repay debt and maintain leverage at less than 3.0 times
            EBITDA (earnings before interest, taxes, depreciation and amortization).

                   “CenturyLink has made significant progress over the last several years in
            improving our top-line revenue trend,” said Glen F. Post, III, chief executive officer
            and president. “We have continued to achieve strong operating revenue
            performance, cash flows and broadband growth, and we remain focused on
            enhancing long-term shareholder value.

                    “The share repurchase program, which will be accretive to free cash flow
            per share, along with our very competitive cash dividend, will enable us to
            significantly increase the total cash returned to our shareholders in 2013 and 2014.
            Additionally, we are positioning the company to maintain a dividend payout ratio
            of less than 60 percent of free cash flow after we have fully utilized our federal
            income tax net operating loss carryforwards,” said Post.

                    “We are confident that the capital allocation initiatives we announced today
            will allow us to continue our investments to drive strategic revenue growth, while
            maintaining our focus on creating long-term shareholder value,” concluded Post.

            49.    Later that same day, CenturyLink conducted an earnings conference call with

  analysts and investors hungry for answers after hearing the stunning news that the Company

  decided to slash dividends. During the call, Defendants stated, in relevant part:21

            [Post] Now turning to slide 11, I want to address our announcement today regarding
            changes to our capital allocation strategy. We have decided to repurchase up to an
            aggregate $2 billion of our outstanding common stock for the next two-year
            period ending February 13, 2015, and we’ve decided to reduce our quarterly
            dividend to $0.54 a share from $0.725 per share.

            Just little history here is backdrop. As we were finalizing our budget for 2013 and
            working with the rating agencies, it became apparent that in order to maintain
            investment grade ratings, we need to reduce investment. We need to reduce
            investments in the business and our growth that is investments and really on our

  21   Unless otherwise indicated, all emphasis is added.

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        growth initiatives, and/or we need to reduce dividend significantly and use 100%
        of free cash flow to repay debt. Again, if we want to maintain our investment
        grade rating, we decided that it is in the long-term best interest for the company
        and our investors to significantly reduce the dividend and use the proceed to
        payback debt to maintain investment grade rating.

        We believe it is important to continue to invest capital in our growth initiatives
        that will help bring us to revenue and EBITDA growth and returning cash to
        shareholders as well. Also we determined if we were willing to accept the loss of
        investment grade rating we could return more cash to shareholder during 2013,
        2014, and we were even with reducing the current dividend and while in
        implementing our share our repurchase program. We decided to take advantage
        of the opportunity to get more cash to shareholders now and adjust the dividend
        to a level that will be closer to the payout ratio that we have historically
        maintained actually we’ve utilized all our NOLs.

        So, we expect to be a full cash taxpayer in 2015. And as with this plan, we will be
        able to continue to investment in our business and our growth initiatives at a
        strong level. We’ve worked to make our decisions based on our ability to drive
        long-term shareholder value and we believe these decisions, these changes will
        do just that.

                                         *        *      *
        Finally, we believe the capital allocation initiatives announced today will further
        our strategy investing key drivers to stabilize and grow top line revenues. In
        addition to the share repurchase program our very competitive cash dividend we
        will be able to significantly increase the total cash returned to shareholders in the
        next two years.
                                         *       *       *
        [Analyst] Thanks, I just want to reconcile some of the prior comments that you had
        made. I think you had mentioned that if you are comfortable with revenue trends
        improving, stabilizing, you could even consider maybe a small dividend increase
        just to keep it consistent. I guess I just want to get a sense of how you feel about
        revenue trends going forward? Your 2015 dividend payout guidance of lower than
        60%, I think implies a pretty significant decline to free cash flow per share from
        the current levels. Can you talk about that as well?

        [Ewing] Yes. So, Batya, the decline that you that you can back into basically by
        looking at the dividend payout ratio or the approximate dividend payout ratio in
        2015 is really due to the fact that we, in 2014, would utilize all of the federal net
        operating loss carryforwards that we have and our cash taxes will increase
        substantially. But we expect, barring any changes in the tax loss, to increase
        substantially in 2015. So that’s the reason. That’s one of the reasons we decided
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        to go ahead and take advantage of this at this point in time and be proactive and
        try to address the dividend and again try to return more cash to shareholders over
        the next two years before becoming a full tax payer to allow us to retire 8% or
        more of our shares which will reduce the dividend even at the new rate by little
        over $100 million dollars, probably between now and 2015, which again allows
        us to really be a lot more comfortable with the dividend that we are moving to on
        a going forward basis.
                                           *       *       *
        [Analyst] Great. Thank you. So, in going through the process, just curious why
        wouldn’t you consider cutting the dividend further or if you’re applied standing up
        to the rating agencies a little bit, but why not leave the dividend where it is and just
        buyback less stock. What is sort of the thinking there. And if you’re on a path to
        get to the point, where EBITDA is stable, why do we have to necessarily consider
        cutting the dividend or is there or is it just taking that much longer than your original
        plan when you look back in and acquiring Savvis and Qwest, is it just taking longer
        to get there?

        [Post] I will start and let Stewart follow-up, Frank. First of all, we didn’t think it
        was good to reduce the dividend further. We know that we believe we need to return
        cash to shareholders. We believe a 25% cut is something not what we would want
        to doing in a perfect world, but something we think is important to do now. We do
        want to maintain the payout ratio. We’ve historically been comfortable with, and
        that 60% below or less than 60% ratio.

        We felt like if we payback, if we continue with the dividend now, there is no real
        benefit in one sense, because once there is uncertainty about the 2015 payout
        ratio, then it’s really like a one-time dividend or payout sales, we don’t think is
        the right thing to do, so we decided it was better to buy stock back with those
        funds, plus additional another 50% of our free cash flow or so and take advantage
        of that accretion. And with the dividend at a level we are very comfortable with
        going forward. What we won’t see that we think the concern about the level of
        dividend we’d be paying. So, this really how we came to our conclusion. Stewart,
        you want to add anything to that?

        [Ewing] It’s really, Frank, just thinking through and looking at what the cash
        taxes would be in 2015 and the impact of that on free cash flow and on the
        dividend payout ratio, and again the opportunity to retire 8% or more of the
        shares between now and then and really help further. I mean it’s accretive to free
        cash flow per share and it will reduce the aggregate dividend going forward.
                                           *        *       *
        [Analyst] Hi, guys. So, with the lower payout ratio, can you help us think about the
        opportunity that this creates in terms of spending more CapEx or maybe going more
        aggressively after growth initiatives like the video business which is going to drive
                                                   22
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        a little more dilution upfront?

        [Ewing] Phil, So, if we bought shares back with the free cash flow then basically
        we will not have the additional capital to invest over and above what we are
        investing today unless we lever the company up, so I mean I guess that’s the other
        thing. As part of this too, we increased the leverage ratio to somewhat less than
        three times or no more than three times.

        But basically, we plan on using the free cash flow that’s created as a result of the
        dividend reduction which is about $450 million a year to repurchase shares plus
        we’ll add a use of about $1.1 billion of our free cash flow to repurchase shares
        as well.

                                          *      *       *
        [Analyst] Hey guys, thanks for taking the question. I will go back to the strategy
        change. I guess I wanted to give you guys maybe the opportunity. A lot of the
        questions have been okay. So Stewart, if nothing has changed in business from a
        year ago and we are looking at the same free cash flow in 2015 today that we are
        looking at before but what we have done is we have chosen the strategy now that’s
        both led to debt downgrades and the 15% cut in the stock price but the argument is
        that we are going to create long-term value, but there is nothing on the acquisition
        table, there is nothing on the CapEx investment front that’s going to be do anything
        different than what’s been happening. So, what is the full argument now for
        CenturyLink now that you have done what you have done? How is CenturyLink
        better for the stockholders now?

        [Ewing] So, David, I think the first is that basically, we were going to get
        downgraded anyway. Based on the 2013 budgets and plan, short of cutting
        operating expenses or investment in areas that we think long-term will help us
        get to revenue and EBITDA stability. If we hadn’t cut those, we couldn’t have
        kept the investment grade rating. The other way to keep the investment grade
        rating would have been to cut the dividend and use that to pay debt back.

        So, I mean we were going to get downgraded anyway. It would have been worse,
        I think, for us to cut the dividend and basically use that to pay debt back at this
        point. So looking at that, I guess as we have focused on 2013, we really started
        focusing on ‘15 and working through and trying to look at what taxes, cash taxes
        would potentially go to in ‘15 and that’s when we realized as part of that that
        basically the dividend payout ratio was going to increase significantly in ‘15, if
        we didn’t do something.

        I guess we could have waited a year and a half or two years and see how that
        worked out but we decided it’s better to be proactive and really try to buy stock
        back in the interim and keep investing in the business. Nothing has changed in
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         the business really. Just keep investing in the business to stabilize and grow revenue
         and EBITDA.

         We felt like we were better off going ahead reducing the dividend now, buying
         shares back which reduces the shares outstanding by the time we get to 2015
         which helps us really again stabilize and be confident that we can continue with
         the dividend that we have moved to, which is more in line with our historical
         payout ratio in the last two to three years in ‘15 than we would have been had we
         not done this at this point.

         [Post] I will just add, Dave that first of all, there is better visibility, as Stewart said,
         in 2015. Secondly, more confidence in our growth initiatives. We have seen those
         become real. We are where we made a choice to keep the dividend or increase the
         dividend and reduce our investment in the business, which we don’t think is right.
         If we had not done this, we are looking at 2015 we think we are putting pressure
         on the stock price as we went into certainly in the ‘13 and ‘14, as we came forced
         to be cash taxpayer. So, you take all into consideration, this is the best strategy for
         our company long-term and for shareholders long-term. That’s our view of it.
                                             *        *       *
         [Post] Throughout 2012, we made good progress on our key strategic initiatives
         and we believe these growth areas continue to strengthen our competitive position
         going into 2013. And, lastly, we believe the capital allocation changes we
         announced today will allow us to continue to invest in these strategic initiatives.
         They will help stabilize our top line revenue and strengthen our company’s
         position long-term, while continuing to return significant cash to shareholders.

         50.     As a result of these disclosures, the price of CenturyLink’s stock plummeted from

  a closing price of $41.69 on February 13, 2013 to a closing price of $32.27 on February 14, 2013;

  a decline of over 22%. This decrease was a result of the artificial inflation caused by Defendants’

  false and misleading statements being removed from CenturyLink’s price.

         51.     Analysts savaged the Company’s disclosure and emphasized its surprise to the

  market. For example, in a report titled “Dividend Cut From Left Field,” Thomas Seitz, an analyst

  with Jefferies & Co. stated, “CenturyLink reported solid 4Q12 results, but that was overshadowed

  by an unexpected dividend cut of 25%. The company also instituted a $2.0B share BB, and

  management indicated it was actually returning more cash to shareholders with this structure. It

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  won’t matter tomorrow.”

            52.    In an article in the Wall Street Journal, several analysts state their concerns

  regarding the future growth prospects of CenturyLink’s stock following the dividend cut.22

  According to Philip Cusick of JPMorgan, “the revised cash plan [gives] more flexibility in the

  near-to medium-term for internal investment but little benefit for shareholders.” The article further

  states that “[t]he move meant surrendering any effort to maintain investment-grade ratings on

  [the Company’s] debt and prompted downgrades from several equity analysts, who raised

  concerns about the [Company’s] future financial flexibility.”

            53.    Numerous other researchers and commentators took to SeekingAlpha to voice their

  surprise at the Company’s new capital allocation strategy. Saibus Research posted an article23

  stating that “[w]e were disappointed because we analyzed [CenturyLink’s] dividend coverage back

  in September [2012] and saw no reason for CenturyLink to cut its dividend. Another reason why

  the dividend was such a shock was because Morgan Stanley rated it as one of its top dividend

  plats in telecom.” Saibus Research related CenturyLink’s precipitous stock decline solely to its

  decision to cut its dividend, stating “we are disappointed that CenturyLink’s solid and decent

  performance for 2012 was overshadowed by its shocking deep dividend cut.”

            54.    In a report titled “You can’t escape your roots; secular wireline pressures drive an

  unexpected dividend cut; downgrading to UP,” Kevin Smithen and Zach Horat, analysts with

  Macquarie Capital stated, “In light of CTL’s surprise quarterly. dividend cut to $0.54 from $0.725



  22 See   http://online.wsj.com/article/BT-CO-20130214-711299.html (last visited May 2, 2014).
  23  See http://seekingalpha.com/article/1205821-centurylinks-dividend-reduction-diverts-from-
  decent-performance (last visited May 2, 2014).

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  and slight cuts to our already-below-consensus 2013 FCF estimates, we are downgrading CTL to

  Underperform from Neutral and cutting our PT to $33 based on a 6.5% yield on the new dividend

  rate. Recent experience with FTR and Alaska is that rural telcos tend to overshoot on the downside

  following dividend cuts, as income funds and retail investors sell. CTL’s cut was unexpected and

  the near-term reaction could be severe, in our opinion. . . . CTL mgmt. finally threw in the towel

  on its Investment Grade credit ratings, announcing a change in capital allocation strategy,

  including a 25% dividend cut and $2bn buyback program.”

         55.     In a report titled “Downgrading CTL Given Lower Outlook on Shareholder

  Returns, Believe Stock is Fairly Valued Post-Dividend Cut,” analysts with J.P. Morgan stated:

  “CTL saw the writing on the wall in 2015, cutting dividend now. With cash taxes in 2015 looming,

  CTL ripped the band-aid off and did what it believes is inevitable – cutting the dividend by 25%

  today. The company believes the new level is sustainable and leaves room to de-lever. In the

  meantime the company did a 2-year $2 billion buyback authorization – essentially returning the

  excess cash flow before the tax hit as buybacks rather than dividend. While we find the discipline

  admirable (we can’t think of another example of this in telecom), the pain for CTL’s shareholders

  is likely to be extreme.”

         56.     In a report titled “4Q Review: Surprise Dividend Cut, But Yield & Buybacks

  Remain Attractive,” analysts with Morgan Stanley stated, “We did not expect a dividend cut given

  the strong FCF payout ratio and improving trends, but the mix shift toward lower margins and

  higher taxes in 2015 drove management’s cautious decision, desiring to keep the payout ratio

  below 60% in 2015.”




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         FALSE AND MISLEADING STATEMENTS

                 False Statements Regarding CenturyLink’s Dividend and Cash Flows

         57.     Against this backdrop, beginning on August 8, 2012, CenturyLink made false and

  misleading statements concerning the Company’s ability and intent to maintain their current rate

  of dividend payments. On that day, CenturyLink issued a press release announcing the Company’s

  quarterly earnings and held a conference call with analysts and investors to discuss the financial

  results. During an exchange with an analyst, Defendant Ewing made the following misleading

  statements regarding the Credit Rating agency criteria and the impact on dividends:

         [Analyst]: Can you give us any color on potential conversations you’ve had with
         the rating agencies as you look forward towards the end of the year and into 2013?
         Specifically have they provided any granularity around the criteria they might be
         looking for in order to maintain or stabilize the current ratings?

         [Ewing]: Yes. . . .

         With respect to Moody’s and Fitch, on Moody’s we had conversations with them.
         Their target more or less to take the negative outlook off the parent company is
         basically for them to be able to see that we can get down to 3 times debt to EBITDA
         based on their calculation, and they’re willing to give us some time to do that and
         they understand where we are. We have a conversation with them each quarter and
         we have face-to-face visits a couple times a year. Expect to be able to give them
         our 2013 projections probably sometime after we meet with our board in
         September. So and again, I think they want to be able to see that we see clearly that
         we can get down to 3 times coverage, leverage on their basis in order to remove the
         negative outlook.

         With Fitch, the dividend payout ratio is more what they look at and it’s about 55%,
         which is in line with where we are. And I think they’re willing to potentially give
         us a little flexibility if we need to make other investments that they can see are
         strategic investments from the standpoint of driving revenue in the future or
         preserving revenue, an example of that is Fiber-to-the-Tower. So that’s kind of
         where we are with the agencies.

         58.     On August 9, 2012, the Company filed its Form 10-Q for the period ending June

  30, 2012. This 10-Q was signed by Defendant Cole and certified by Defendants Post and Ewing.

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  The report continued to mislead investors by boasting that its ability to pay dividends stems from

  the Company’s steady stream of free cash flows, and because of this it expects to continue the

  current dividend rate of $2.90 per share. The report stated in relevant part:

         We have generally relied on cash provided by operations and our revolving credit
         facility to fund our operating and capital expenditures, make our dividend payments
         and repay a portion of our maturing debt. Our operations have historically provided
         a stable source of cash flow that has helped us meet the needs of the business.
                                           *       *       *
         We anticipate that our existing cash balances and net cash provided by operating
         activities will enable us to meet our other current obligations, fund capital
         expenditures and pay dividends to our shareholders.
                                           *       *       *
         We currently expect to continue our current annual dividend of $2.90 per
         common share, subject to our board’s discretion.
                                           *       *       *
         Net Operating Loss Carryforwards
         We are currently using federal net operating loss carryforwards (“NOLs”) to offset
         a portion of our taxable income. We expect to deplete a significant portion of these
         NOLs and certain other deferred tax attributes by 2014, and substantially all of
         these tax benefits by 2015. Once our NOLs are fully utilized, we expect that the
         amount of our cash flows dedicated to the payment of federal taxes will increase
         substantially. The amounts of those payments will depend upon many factors,
         including future earnings, tax law changes, and future tax circumstances.

         59.     On the heels of these August 8-9, 2012, false statements, Defendant Post, Karen

  Puckett and Stacey Goff collectively sold 160,000 shares of CenturyLink common stock, at an

  Class-Period intra-day high of $43.43, for a value of nearly $7 million.

         60.     On September 13, 2012 the Company participated in the Bank of America Merrill

  Lynch Media, Communications & Entertainment Conference.               During this conference the

  Defendants mislead investors to expect the same or higher dividends in 2013, by falsely stating

  that an increase in dividend was a consideration in “driving potentially more value for

  shareholders.” The Defendants completely omitted any notion that cutting dividends was on the
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  table, and such a decision would be necessary after meeting with credit rating agencies. The

  Defendants stated in relevant part:

         [Analyst] [H]istorically, you guys have said that significant changes in the dividend
         are really not in your future, that if you are going to return capital to shareholders
         after you delivered to appropriate degree, buybacks are really the way to do that.

         I guess my question is, to you is, guys like AT&T and Verizon have kind of gone
         a lot of credit before raising the divided a 0.5% a quarter or a couple percent a year,
         nothing significant, but it kind of makes them – it sends two signals. Number one,
         it says we are an income stream that grows. And number two, it says we are very
         confident in the long-term future of our business. Does that signaling resonate with
         you, do you see a value in that message that you could sent to investors?

         [Ewing] It does and as we look at 2013, we’ll review our plans with our board and
         determine what to do with free cash flow in 2013, but I would say that a small
         increase in the dividend wouldn’t be off the table that that would be something
         we consider and I think about and it’s a – we understand and have had more
         communication from shareholders. I guess in the last six months, it seemed to be
         moving and drifting toward the dividend increase model from the standpoint of
         driving potentially more value for shareholders that way. That being said, I mean,
         we’re still pre-disposed from about to the – above of our stock and frankly, if we
         were to repurchase some of our shares, it actually helps us provide a little leeway
         per dividend increase potentially. So...

         61.     On November 7, 2012, the Company held a conference call to discuss its quarterly

  earnings with analysts and investors. In his prepared remarks, Defendant Ewing stated:

         [Ewing] In summary, we’re generating solid strategic revenue growth. We
         achieved good cost containment during the quarter and achieved Qwest synergies
         earlier than anticipated -- originally anticipated. And finally, we continue to believe
         a solid balance sheet is important to our financial flexibility and feel confident
         about our cash flow generating ability, which allows CenturyLink to return
         meaningful cash to our shareholders.

         62.     In response to certain analyst questions, Defendant Post continued to mislead

  investors by falsely describing the Company’s financial status and free cash flow flexibility, and

  maintaining that an increase in dividend was a true possibility

         [Post] I’m sorry, do I support what? Agree with what statement?

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            [Analyst] The idea that there’s a higher value to companies that grow their
            dividend, even if it’s only a small amount, as opposed to just simply keeping a
            dividend steady through time.

            [Post] Yes, I have seen some studies that indicate that companies that grow their
            dividend do drive value -- good value for shareholders. So yes, I have seen some of
            that, and I don’t have any -- don’t disagree with the studies. It’s something that we
            consider as we talk about our use of free cash flow basically every quarter and
            certainly every year. We talk in detail about what’s the best way for us to drive
            long term shareholder value, and we realize that growing dividends is one way
            that companies have done that over time. So it is part of our consideration.

            63.    On November 8, 2012, the Company filed a Form 10-Q with the SEC setting forth

  the financial results for the Company’s third quarter 2012.24 The 10-Q stated, in relevant part:

            As of September 30, 2012, we held cash and cash equivalents of $194 million
            compared to $128 million as of December 31, 2011 and had $1.72 billion available
            under our revolving credit facility, which is described further below (the “Credit
            Facility”). We have generally relied on cash provided by operations and our
            revolving credit facility to fund our operating and capital expenditures, make our
            dividend payments and repay a portion of our maturing debt. Our operations have
            historically provided a stable source of cash flow that has helped us meet the needs
            of the business.

            As of September 30, 2012, we had a working capital deficit of $1.1 billion,
            reflecting current liabilities of $4.9 billion and current assets of $3.8 billion,
            compared to a working capital deficit of $500 million as of December 31, 2011.
            The change in our working capital position is primarily due to a $718 million
            increase in current maturities of long-term debt, as partially offset by decreases in
            our accounts payable balance and increases in current assets due to the
            reclassification of certain assets held for sale as current assets.

            We anticipate that our existing cash balances and net cash provided by operating
            activities will enable us to meet our other current obligations, fund capital
            expenditures and pay dividends to our shareholders. We also may draw on our
            revolving credit facility as a source of liquidity if and when necessary.

            During the nine months ended September 30, 2012, we received net proceeds of
            $3.4 billion from the issuance of senior notes and term loan borrowings effected in
            anticipation of paying down portions of our long-term debt.


  24 This   10-Q was signed by Defendant Cole and certified by Defendants Post and Ewing.

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         We currently expect to continue our current annual dividend of $2.90 per
         common share, subject to our board’s discretion. See “Risk Factors-Risks
         Affecting Our Business” in Item 1A of Part II of this report.
                                           *       *       *
         Net Operating Loss Carryforwards

         We are currently using federal net operating loss carryforwards (“NOLs”) to offset
         a portion of our taxable income. We expect to deplete a significant portion of these
         NOLs and certain other deferred tax attributes by 2014, and substantially all of
         these tax benefits by 2015. Once our NOLs are fully utilized, we expect that the
         amount of our cash flows dedicated to the payment of federal taxes will increase
         substantially. The amounts of those payments will depend upon many factors,
         including future earnings, tax law changes, and future tax circumstances. For
         additional information, see “Risk Factors—Risks Relating to our Recent
         Acquisitions” appearing in Item 1A of Part II of this report.
                                           *        *      *
         We cannot assure you whether, when or in what amounts we will be able to use
         Qwest’s and Savvis’ net operating losses.

         At December 31, 2011, we had approximately $6.2 billion of federal net operating
         losses, or NOLs, of which, approximately $5.6 billion and $212 million relate to
         pre-acquisition losses of Qwest and Savvis, respectively. These NOLs can be used
         to offset our future federal and certain taxable income.

         The acquisition of Qwest and Savvis caused an “ownership change” under federal
         tax laws relating to the use of NOLs. As a result, these laws could limit our ability
         to use their NOLs and certain other deferred tax attributes. Further limitations could
         apply if we are deemed to undergo an ownership change in the future. Despite this,
         we expect to use substantially all of these NOLs and certain other deferred tax
         attributes as an offset to our federal future taxable income by 2015, although the
         timing of that use will depend upon the consolidated group’s future earnings and
         future tax circumstances.

         64.    Defendants’ emphasized statements in the previous paragraphs were each

  materially false and misleading when made because:

                (a)     During their meetings with rating agencies, prior to and throughout the
                        Class Period, Defendants knew or should have known that CenturyLink
                        would have to cut dividends to reduce debt ratios in order to maintain their
                        investment grade rating, or to lessen the downgrade in rating.

                (b)     Defendant Post confessed that he was not honest with the market, admitting
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                       to his employees that he should have “prepped the market ahead of the
                       dividend cut as opposed to announcing the cut.”

                (c)    Based on future tax liabilities, a decrease in dividend would be the only way
                       that the Company could meet its debt maturities while maintaining leverage
                       at less than 3.0 times EBITDA as required by credit rating agencies.

                (d)    At no time was increasing the quarterly dividend an option for adding value
                       for shareholders based on the Company’s current financial outlook because
                       the Company and Individual Defendants knew that less free cash flow
                       would be available for dividend payments due to the inability to use certain
                       NOLs and that the Company would be unable to meet the credit rating
                       agencies’ criteria for the desired investment rating.

                (e)    The Company and the Individual Defendants knew the inability to use the
                       Company’s NOLs past 2014 would create an unsustainable drain on the
                       Company’s free cash flows when it became a full-cash taxpayer in 2015;

                (f)    In order to offset the strain on free cash flows beginning in 2015, the
                       Company’s Board of Directors had already determined to cut the quarterly
                       dividend paid to shareholders and initiate a share buyback program for the
                       purpose of decreasing the amount of outgoing cash.

                (g)    During the Class Period, Defendants were aware that the dividend needed
                       to be cut in anticipation of the free cash-flow crunch, additional capital
                       expenditures, acquisitions costs, increased tax obligations, and higher debt
                       payments.

                False Statements Regarding CenturyLink’s Internal Controls

         65.    Additionally, throughout the Class period, Defendants materially misrepresented

  CenturyLink’s internal controls and procedures over financial reporting.         Specifically, in

  CenturyLink’s annual and quarterly SEC filings, the Company misrepresented that, after an

  evaluation of CenturyLink’s controls and procedures conducted by the Company’s Management,

  including Defendants Post and Ewing, the Individual Defendants concluded that the disclosure

  controls and procedures are “effective to provide reasonable assurance that the information

  required to be disclosed… is timely recorded, processed, summarized and reported.” In addition,

  Defendants Post and Ewing each falsely certified that the Company’s financial statements were

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  accurate and fairly presented the Company’s financial condition, certifying in pertinent part:

         1. I have reviewed this … [r]eport … of CenturyLink, Inc.;

         2. Based on my knowledge, this report does not contain any untrue statement of
            a material fact or omit to state a material fact necessary to make the
            statements made, in light of the circumstances under which such statements
            were made, not misleading with respect to the period covered by this report;

         3. Based on my knowledge, the financial statements, and other financial
            information included in this report, fairly present in all material respects the
            financial condition, results of operations and cash flows of the registrant as
            of, and for, the periods presented in this report;


         4. The registrant's other certifying officer and I are responsible for establishing
            and maintaining disclosure controls and procedures (as defined in Exchange
            Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting
            (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant
            and have:

                 a) designed such disclosure controls and procedures, or caused such
                    disclosure controls and procedures to be designed under our
                    supervision, to ensure that material information relating to the
                    registrant, including its consolidated subsidiaries, is made known to
                    us by others within those entities, particularly during the period in
                    which this report is being prepared;

                 b) designed such internal control over financial reporting, or caused such
                    internal control over financial reporting to be designed under our
                    supervision, to provide reasonable assurance regarding the reliability
                    of financial reporting and the preparation of financial statements for
                    external purposes in accordance with generally accepted accounting
                    principles;

                 c) evaluated the effectiveness of the registrant's disclosure controls and
                    procedures and presented in this report our conclusions about the
                    effectiveness of the disclosure controls and procedures, as of the end
                    of the period covered by this report based on such evaluation; and

                 d) disclosed in this report any change in the registrant's internal control
                    over financial reporting that occurred during the registrant's most recent
                    fiscal quarter (the registrant's fourth fiscal quarter in the case of an
                    annual report) that has materially affected, or is reasonably likely to
                    materially affect, the registrant's internal control over financial
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                    reporting….25

         66.    Additionally, Post and Ewing signed the certification in CenturyLink’s SEC filings

  during the Class Period, pursuant to 18 U.S.C. 1350, as adopted pursuant to Section 906 of the

  Sarbanes-Oxley Act of 2002, which stated the following:

         . . . [the undersigned] hereby certifies, that, to the best of his knowledge, the
         Report…fully complies with the requirements of Section 13(a) or, 15(d) of the
         Securities Exchange Act of 1934 and the information contained in the Report
         fairly presents, in all material respects, the financial condition and results of
         operations of the CenturyLink.26

         67.    Defendants’ emphasized statements in the previous paragraphs were each

  materially false and misleading when made because:

         (a)    The Company’s financial forecasts were inaccurate and could not be relied upon
                because the Company and the Individual Defendants did not have the necessary
                operational and financial controls in place to when the statements were made.

         (b)    The Defendants were well-aware (or should have known) of the need for strong
                internal controls, as Qwest had been fined $250 million dollars by the SEC for is
                own accounting scandals prior to its acquisition by CenturyLink.

         (c)    As CW 6 described, CenturyLink’s internal controls were “a mess” and “one of the
                worse financial reporting” systems she had experienced, to the extent that she knew
                of no way to access 10-Ks and 10-Qs internally, but rather had to obtain them from
                Yahoo! or the SEC’s database.

         (d)    As told by CW 4 the Company’s new acquisitions were not financial integrated into
                CenturyLink’s corporate structure, had no corporate financial oversight or
                accounting consistency in their financial reporting and forecasting, and maintained
                all of their financial records independently.

         (e)    According to CW 2, for CenturyLink’s marquee business to business cloud-based
                products, sales and revenue quotas were established despite the fact that the


  25 This statement was repeated in substantially identical form in: 2Q2012 Form 10-Q at Ex-31.1,
  Ex-31.2 (filed August 9, 2012); 3Q2012 Form 10-Q at Ex-31.1, Ex-31.2 (filed November 8, 2012).

  26 This statement was repeated in substantially identical form in: 2Q2012 Form 10-Q at Ex-32
  (filed August 9, 2012); 3Q2012 Form 10-Q at Ex-32 (filed November 8, 2012).

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                 products had not been fully developed or brought to market, which resulted in
                 unreliable projections and incorrect financial results.

         THE SAFE HARBOR AND BESPEAKS CAUTION DOCTRINES DO NOT
         APPLY

         68.     CenturyLink’s “Safe Harbor” warnings accompanying its forward-looking

  statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

  liability. The federal statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to the material misstatements and omissions pleaded herein. Many

  of the statements pleaded herein were not identified as “forward-looking statements” when made,

  or indicated that actual results “could differ materially from those projected.” Nor were there any

  meaningful cautionary statements identifying the important factors that had already occurred or

  the known risks to make such warnings sufficient.

         69.     Defendants are also liable for any false or misleading FLS pleaded because, at the

  time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

  authorized and/or approved by an executive officer of CenturyLink who knew that the FLS was

  false. Alternatively, none of the historic or present-tense statements made by Defendants were

  assumptions underlying or relating to any plan, projection, or statement of future economic

  performance, as they were not stated to be such assumptions underlying or relating to any

  projection or statement of future economic performance when made, nor were any of the

  projections or forecasts made by Defendants expressly related to or stated to be dependent on those

  historic or present-tense statements when made.

         LOSS CAUSATION ALLEGATIONS

         70.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

  deceive the market and a course of conduct that artificially inflated the prices of CenturyLink’s
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  securities. This operated as a fraud or deceit on Class Period purchasers of CenturyLink’s securities

  by failing to disclose to investors that the Company’s operational and financial characterizations

  were materially misleading and misrepresented material information. Later, when the truth was

  revealed and Defendants’ prior misrepresentations and fraudulent conduct became apparent to the

  market, the price of CenturyLink’s securities fell precipitously, as the artificial inflation came

  pouring out of the Company’s stock price. As a result of their purchases of CenturyLink securities

  during the Class Period, Plaintiffs and other members of the Class suffered economic loss under

  the federal securities laws.

          71.     On February 13, 2013, the Company announced that it would be slashing the

  dividend rate and initiating a stock repurchase program as a result of its ongoing discussions with

  the credit rating agencies regarding the Company’s debt ratios, investment rating, and NOLs. As

  a result, the stock price plummeted on extremely high volume of over 70 million shares traded,

  dropping from a closing price of $43.43 August 9, 2012 to a closing price of $32.27 on February

  14, 2013, a decline of over 22%, instantly wiping out approximately $6 billion in market value and

  severely underperforming both the S&P 500 and the S&P Telecom Index (both of which indexes

  it is a constituent):




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         72.     By failing to disclose their decision to cut the dividend, Defendants withheld from

  investors the true nature of their investments in CenturyLink and presented a misleading picture

  of CenturyLink’s business operations, internal procedures and finances.          Thus, instead of

  accurately disclosing the actual state of the Company’s affairs during the Class Period, Defendants

  caused CenturyLink to conceal the truth. Defendants’ false and misleading statements had the

  intended effect and caused CenturyLink’s common stock to trade at artificially inflated levels

  throughout the Class Period. The stock price drops discussed herein caused real economic loss to

  investors who purchased the Company’s securities during the Class Period.

         73.     The decline in the price of CenturyLink’s common stock after the truth came to

  light was a direct result of the nature and extent of Defendants’ fraud finally being revealed to

  investors and the market. The timing and magnitude of CenturyLink’s common stock price decline

  negates any inference that the loss suffered by Plaintiffs and other Class members was caused by

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  changed market conditions, macroeconomic or industry factors or Company-specific facts

  unrelated to the Defendants’ fraudulent conduct. The economic loss suffered by Plaintiffs and the

  other Class members was a direct result of Defendants’ fraudulent scheme to artificially inflate the

  prices of CenturyLink’s securities and the subsequent decline in the value of CenturyLink’s

  securities when Defendants’ prior misrepresentations concerning the Company’s financial status

  and internal controls, as well as other fraudulent conduct, were revealed.

          CLASS ACTION ALLEGATIONS

          74.     Plaintiffs brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

  acquired CenturyLink common stock during the Class Period and were damaged by the alleged

  corrective disclosures. Excluded from the Class are Defendants herein, the officers and directors

  of the Company, at all relevant times, members of their immediate families and their legal

  representatives, heirs, successors or assigns and any entity in which defendants have or had a

  controlling interest.

          75.     The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, CenturyLink securities were actively traded on the

  New York Stock Exchange. Although the exact number of Class members is unknown to Plaintiffs

  at this time and can be ascertained only through appropriate discovery, Plaintiffs believe that there

  are hundreds or thousands of members in the proposed Class. Record owners and other members

  of the Class may be identified from records maintained by CenturyLink or its transfer agent and

  may be notified of the pendency of this action by mail, using the form of notice similar to that

  customarily used in securities class actions. As of August 2, 2012, several days before the start of

  the Class Period, CenturyLink had 622,649,622 shares of common stock outstanding. Upon
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  information and belief, these shares are held by thousands if not millions of individuals located

  geographically throughout the country and possibly the world.               Joinder would be highly

  impracticable.

         76.       Plaintiffs’ claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         77.       Plaintiffs will fairly and adequately protect the interests of the members of the Class

  and have retained counsel competent and experienced in class and securities litigation. Plaintiffs

  have no interests antagonistic to or in conflict with those of the Class.

         78.       Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

                   (a)    whether the federal securities laws were violated by Defendants’ acts as
                          alleged herein;

                   (b)    whether statements made by Defendants to the investing public during the
                          Class Period misrepresented or omitted material facts about the business,
                          operations and management of CenturyLink;

                   (c)    whether the Individual Defendants caused CenturyLink to issue false and
                          misleading financial statements during the Class Period;

                   (d)    whether Defendants acted knowingly or recklessly in issuing false and
                          misleading financial statements;

                   (e)    whether the prices of CenturyLink securities during the Class Period were
                          artificially inflated because of the Defendants’ conduct complained of
                          herein; and

                   (f)    whether the members of the Class have sustained damages and, if so, what
                          is the proper measure of damages.

         79.       A class action is superior to all other available methods for the fair and efficient
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  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

  damages suffered by individual Class members may be relatively small, the expense and burden

  of individual litigation make it impossible for members of the Class to individually redress the

  wrongs done to them. There will be no difficulty in the management of this action as a class action.

         RELIANCE PRESUMPTION: FRAUD-ON-THE-MARKET DOCTRINE

         80.     At all relevant times, the market for CenturyLink’s common stock was an efficient

  market for the following reasons, among others:

                 (a)     CenturyLink’s common stock met the requirements for listing and was
                         listed and actively traded on the New York Stock Exchange, an open and
                         efficient market;

                 (b)     During the Class Period, on average, 2.3 million shares of CenturyLink’s
                         common stock were traded on a daily basis;

                 (c)     CenturyLink regularly communicated with public investors via established
                         market communication mechanisms, including regular disseminations of
                         press releases on the national circuits of major newswire services and other
                         wide-ranging public disclosures, such as communications with the financial
                         press and other similar reporting services;

                 (d)     CenturyLink was followed by several securities analysts employed by
                         major brokerage firms who wrote reports that were distributed to the sales
                         force and certain customers of their respective brokerage firms during the
                         Class Period. Each of these reports was publicly available and entered the
                         public marketplace;

                 (e)     Numerous firms were active market-makers in CenturyLink stock at all
                         times during the Class Period; and

                 (f)     Unexpected material news about CenturyLink was rapidly reflected in and
                         incorporated into the Company’s stock price during the Class Period.

         90.     As a result of the foregoing, the market for CenturyLink’s common stock promptly

  digested current information regarding CenturyLink from all publicly available sources and

  reflected such information in CenturyLink’s stock price.          Under these circumstances, all


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  purchasers of CenturyLink’s common stock during the Class Period suffered similar injury through

  their purchase of CenturyLink’s common stock at artificially inflated prices, and a presumption of

  reliance applies.

          APPLICABILITY OF PRESUMPTION OF RELIANCE: AFFILIATED UTE

          81.     Neither Plaintiffs nor the Class need prove reliance - either individually or as a class

  because under the circumstances of this case, which involves a failure to disclose and a duty of

  disclosure, positive proof of reliance is not a prerequisite to recovery, pursuant to ruling of the

  United States Supreme Court in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

  (1972). All that is necessary is that the facts withheld be material in the sense that a reasonable

  investor might have considered the omitted information important in deciding whether to buy or

  sell the subject security. Here, the facts withheld were material because a reasonable investor

  would have considered the ability of CenturyLink to continue paying dividends at its then-current

  rate critical in evaluating the investment potential of the Company.

          CLAIMS

                  Count One

                                  Violation of Section 10(b) of
                               The Exchange Act and Rule 10b-5
                         Promulgated Thereunder Against All Defendants

          82.     Plaintiffs repeat and reallege each and every allegation contained above as if fully

  set forth herein.

          83.     This Count is asserted against Defendants and is based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          84.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

  course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,
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  practices and courses of business which operated as a fraud and deceit upon Plaintiffs and the other

  members of the Class; made various untrue statements of material facts and omitted to state

  material facts necessary in order to make the statements made, in light of the circumstances under

  which they were made, not misleading; and employed devices, schemes and artifices to defraud in

  connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

  the Class Period, did: (i) deceive the investing public, including Plaintiffs and other Class

  members, as alleged herein; (ii) artificially inflate and maintain the market price of CenturyLink

  securities; and (iii) cause Plaintiffs and other members of the Class to purchase CenturyLink

  securities at artificially inflated prices. In furtherance of this unlawful scheme, plan and course of

  conduct, defendants, and each of them, took the actions set forth herein.

         85.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

  defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

  reports, SEC filings, press releases and other statements and documents described above, including

  statements made to securities analysts and the media that were designed to influence the market

  for CenturyLink securities. Such reports, filings, releases and statements were materially false and

  misleading in that they failed to disclose material adverse information and misrepresented the truth

  about CenturyLink’s finances.

         86.     By virtue of their positions at CenturyLink, Defendants had actual knowledge of

  the materially false and misleading statements and material omissions alleged herein and intended

  thereby to deceive Plaintiffs and the other members of the Class, or, in the alternative, Defendants

  acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

  such facts as would reveal the materially false and misleading nature of the statements made,


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  although such facts were readily available to defendants. Said acts and omissions of defendants

  were committed willfully or with reckless disregard for the truth. In addition, each defendant knew

  or recklessly disregarded that material facts were being misrepresented or omitted as described

  above.

           87.    Information showing that Defendants acted knowingly or with reckless disregard

  for the truth is peculiarly within defendants’ knowledge and control. As the senior managers and/or

  directors of CenturyLink, the Individual Defendants had knowledge of the details of CenturyLink’s

  internal affairs.

           88.    The Individual Defendants are liable for the wrongs complained of herein. Because

  of their positions of control and authority, the Individual Defendants were able to and did, directly

  or indirectly, control the content of the statements of CenturyLink. As officers and/or directors of

  a publicly-held company, the Individual Defendants had a duty to disseminate timely, accurate,

  and truthful information with respect to CenturyLink’s businesses, operations, future financial

  condition and future prospects. As a result of the dissemination of the aforementioned false and

  misleading reports, releases and public statements, the market price of CenturyLink securities was

  artificially inflated throughout the Class Period. In ignorance of the adverse facts concerning

  CenturyLink’s business and financial condition which were concealed by defendants, Plaintiffs

  and the other members of the Class purchased CenturyLink securities at artificially inflated prices

  and relied upon the price of the securities, the integrity of the market for the securities and/or upon

  statements disseminated by defendants, and were damaged thereby.

           89.    During the Class Period, CenturyLink securities were traded on an active and

  efficient market. Plaintiffs and the other members of the Class, relying on the materially false and


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  misleading statements described herein, which the defendants made, issued or caused to be

  disseminated, or relying upon the integrity of the market, purchased shares of CenturyLink

  securities at prices artificially inflated by defendants’ wrongful conduct. Had Plaintiffs and the

  other members of the Class known the truth, they would not have purchased said securities, or

  would not have purchased them at the inflated prices that were paid. At the time of the purchases

  by Plaintiffs and the Class, the true value of CenturyLink securities was substantially lower than

  the prices paid by Plaintiffs and the other members of the Class. The market price of CenturyLink

  securities declined sharply upon public disclosure of the facts alleged herein to the injury of

  Plaintiffs and Class members.

          90.     By reason of the conduct alleged herein, defendants knowingly or recklessly,

  directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

  promulgated thereunder.

          91.     As a direct and proximate result of defendants’ wrongful conduct, Plaintiffs and the

  other members of the Class suffered damages in connection with their respective purchases and

  sales of the Company’s securities during the Class Period, upon the disclosure that the Company

  had been disseminating misrepresented financial statements to the investing public.

                  Count Two

                              Violation of Section 20(a) of The Exchange Act
                                    Against the Individual Defendants

          92.     Plaintiffs repeat and reallege each and every allegation contained above as if fully

  set forth herein.

          93.     During the Class Period, the Individual Defendants participated in the operation

  and management of CenturyLink, and conducted and participated, directly and indirectly, in the

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  conduct of CenturyLink’s business affairs. Because of their senior positions, they knew the adverse

  non-public information about CenturyLink’s ability to continue to maintain its dividend rate in

  light of the Company’s 2015 tax liability.

         94.     As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to

  CenturyLink’s financial condition and results of operations, and to correct promptly any public

  statements issued by CenturyLink which had become materially false or misleading.

         95.     Because of their positions of control and authority as senior officers, the Individual

  Defendants were able to, and did, control the contents of the various reports, press releases and

  public filings which CenturyLink disseminated in the marketplace during the Class Period

  concerning CenturyLink’s payment of dividends and tax liability. Throughout the Class Period,

  the Individual Defendants exercised their power and authority to cause CenturyLink to engage in

  the wrongful acts complained of herein. The Individual Defendants therefore, were “controlling

  persons” of CenturyLink within the meaning of Section 20(a) of the Exchange Act. In this capacity,

  they participated in the unlawful conduct alleged which artificially inflated the market price of

  CenturyLink securities.

         96.     Each of the Individual Defendants, therefore, acted as a controlling person of

  CenturyLink. By reason of their senior management positions and/or being directors of

  CenturyLink, each of the Individual Defendants had the power to direct the actions of, and

  exercised the same to cause, CenturyLink to engage in the unlawful acts and conduct complained

  of herein. Each of the Individual Defendants exercised control over the general operations of

  CenturyLink and possessed the power to control the specific activities which comprise the primary


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  violations about which Plaintiffs and the other members of the Class complain.

         97.      By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by CenturyLink.

         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

                 (a) Determining that this action is a proper class action, certifying Plaintiffs as class

         representatives under Rule 23 of the Federal Rules of Civil Procedure and Plaintiffs’

         counsel as Class Counsel;

                 (b) Awarding compensatory damages in favor of Plaintiffs and the other Class

         members against all Defendants, jointly and severally, for all damages sustained as a result

         of Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

                 (c) Awarding Plaintiffs and the Class their reasonable costs and expenses incurred

         in this action, including counsel fees and expert fees; and

                 (d) Such other and further relief as the Court may deem just and proper.

         JURY TRIAL DEMANDED

  Plaintiffs hereby demand a trial by jury.

  DATED: May 2, 2014                           HOUCK & RIGGLE, LLC

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                                  CERTIFICATE OF SERVICE


         I hereby certify that a copy of the foregoing has been served via the Court’s electronic

  noticing system to all counsel of record this 2nd day of May, 2014.




                                             /s/ ___________________________            .




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